Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21   Entered 01/29/21 21:18:02   Page 1 of 7




               Exhibit C
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21                     Entered 01/29/21 21:18:02             Page 2 of 7



  NELIGAN LLP
  PATRICK J. NELIGAN, JR.
  State Bar. No. 14866000
  DOUGLAS J. BUNCHER
  State Bar No. 03342700
  JOHN D. GAITHER
  State Bar No. 24055516
  325 North St. Paul, Suite 3600
  Dallas, Texas 75201
  Telephone: 214-840-5333
  Facsimile: 214-840-5301
  pneligan(dneliganlaw.com
  dbuncher neliganlaw.com
  jgaither neliganlaw.com
  Proposed Co-Counsel for Debtors and
  Debtors-in-Possession


                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

 IN RE:                                                    §            CHAPTER 11
                                                           §
 NATIONAL RIFLE ASSOCIATION OF                             §            CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC,                                 §
                                                           §
          DEBTORS1                                         §            Jointly Administered
                                                           §


      DECLARATION OF CAROLYN MEADOWS IN SUPPORT OF DEBTORS’
   APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING AND APPROVING
   THE EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL
     COUNSEL FOR THE DEBTORS, EFFECTIVE AS OF THE PETITION DATE

     I, Carolyn Meadows, pursuant to 28 U.S.C. § 1746, state:

         1.       I am the President of the National Rifle Association of America (the “Association”),

 a position to which I was elected by the Association Board of Directors in April 2019. In my

 capacity as President, I continue to serve on the Association’s Board of Directors; I have been a



         1
          The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (National Rifle Association
 of America) and 5681 (Sea Girt LLC).

 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 1 of 6
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21                        Entered 01/29/21 21:18:02              Page 3 of 7




 member of the Association’s Board of Directors since 2003. I also served as Second Vice

 President of the Association during 2017 and 2018, and served a previous, partial term as President

 from May to September 2018.

         2.         I submit this declaration in support of the Debtors’ Application for Entry of an

 Order Authorizing and Approving the Employment of Brewer, Attorneys & Counselors as Special

 Counsel for the Debtors, Effective as of the Petition Date (the “Application”)2 filed by Sea Girt,

 LLC (“Sea Girt”) and the National Rifle Association of America (the “Association,” and, together

 with Sea Girt, the “Debtors”), debtors and debtors-in-possession. Except as otherwise noted, I

 have personal knowledge of the matters stated herein.

         3.         During late 2017 or early 2018, I learned that another Association Board member,

 Tom King, had received a disturbing communication from Eric Schneiderman, who then served

 as Attorney General of the State of New York. That communication caused the Association to

 become concerned that in advance of the 2020 election, it would face politically motivated

 hostilities from the New York State Office of the Attorney General (the “NYAG”), possibly

 including an invasive investigation and a dissolution lawsuit. Those concerns later came to

 fruition: in August 2020, the NYAG commenced a politically motivated dissolution action against

 the Association (the “NYAG State Action”). The NYAG State Action names as defendants two

 sitting officers of the Association: the Association’s Executive Vice President and Chief Executive

 Officer, Wayne LaPierre, and the Association’s Secretary and General Counsel, John Frazer.

         4.         In my capacity as an elected officer, I participated in multiple conversations about

 the strategic direction the Association should take in advance of a potential attack by the NYAG.




         2
             Capitalized terms not defined in this Declaration have the meanings set forth in the Application.

 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 2 of 6
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21               Entered 01/29/21 21:18:02          Page 4 of 7




 The prospect of the NYAG State Action was a key consideration motivating the Association to

 retain Brewer, Attorneys and Counselors (“BAC”).

         5.      When the NYAG commenced the NYAG State Action, I directed the formation of

 a special litigation committee (the “Special Litigation Committee”) to advise the Association

 regarding its litigation strategy in this and related matters. I appointed three members of the

 Special Litigation Committee: myself, First Vice President Charles Cotton, and Second Vice

 President Willes Lee. Based on my review of the Association’s records and my conversations

 with Messrs. Cotton and Lee, no member of the Special Litigation Committee has any significant

 business relationship with the Association, or any other relationship that would impair our

 oversight of the Association’s litigation strategy. Thus, the directors composing the Special

 Litigation Committee are independent and disinterested. I am the Chair of the Special Litigation

 Committee.

         6.      On January 7, 2021, the Board of Directors voted to formalize the existence of the

 Special Litigation Committee as a committee of the Board of Directors, authorized to exercise

 corporate authority on behalf of the Association. Specifically, the Board delegated to the Special

 Litigation Committee the following responsibilities:

              RESOLVED that the Special Litigation Committee shall exercise corporate
              authority on behalf of the NRA with respect to the prosecution and defense of (i)
              the litigation captioned People of the State of New York v. The National Rifle
              Association et al., Index No. 451625/2020 (Sup. Ct. N.Y.); (ii) the litigation
              captioned The National Rifle Association v. Letitia James, Case No. 1:20-cv-889
              (N.D.N.Y. 2020); (iii) the litigation captioned District of Columbia v. Association
              Foundation, Inc. et al., (2020 CA 003545 B); and (iv) any additional legal
              proceedings arising from or relating to the same facts, circumstances, or allegations
              as the foregoing, wherein the potential for an actual or apparent conflict of interest




 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 3 of 6
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21                      Entered 01/29/21 21:18:02            Page 5 of 7




               favors recusal by one or more NRA executives who would customarily oversee
               such proceedings.3

         7.         The Special Litigation Committee has firmly and unanimously determined that the

 Association should continue to retain BAC in the prepetition matters it has handled, which include

 multiple lawsuits opposite the NYAG, as well as commercial litigation against former vendors and

 fiduciaries of the Association. The Association’s interests would be significantly impaired if it

 were forced to retain new counsel in these matters now—more than two years after selecting BAC

 to defend the Association against the unconstitutional actions of New York State and in the midst

 of multiple pending actions. In my capacity as a member of the Special Litigation Committee and

 as a director and officer of the Association, I have received detailed briefings from BAC over the

 course of several years regarding its litigation docket and am confident that the reservoir of

 knowledge BAC has accumulated regarding these cases could not be efficiently offloaded to, or

 replicated by, substitute counsel. Nor would the Special Litigation Committee desire such an

 outcome because the services of BAC are beneficial and in the best interests of the Debtors and

 their estates.

         8.         The Special Litigation Committee is aware of the considerations favoring robust

 oversight of costs incurred by outside counsel in any Chapter 11 proceeding. The Special

 Litigation Committee understands that BAC sets hourly rates for its attorneys that are consistent

 with those charged in other matters, do not reflect any premium or increase vis-à-vis rates charged

 to non-bankruptcy clients, and are comparable to the hourly rates of competing firms. In

 connection with the review and approval of outside counsel’s invoices, the Special Litigation

 Committee has sought and will continue to seek advice from the Board of Directors’ counsel.



         3
             Resolution Authorizing Chapter 11 Reorganization and Related Retention of Counsel, ECF No. 1, at p. 5.

 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 4 of 6
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21               Entered 01/29/21 21:18:02          Page 6 of 7




         9.        Each month, BAC submits detailed invoices narrating, in six-minute increments the

 work performed by its professionals and the corresponding hourly-rate charge for each entry. The

 monthly invoices also itemize charges for document review, data hosting, administrative support

 costs and related items. The Special Litigation Committee customarily seeks advice from William

 “Wit” Davis, an attorney who serves as independent counsel to the Association’s Board of

 Directors, regarding the reasonableness of the items invoiced each month by BAC and whether

 adjustments should be requested. After receiving the invoices of BAC and receiving advice from

 Mr. Davis, each member of the Special Litigation Committee votes each month on whether BAC’s

 invoices should be approved. If and when the members of the Special Litigation Committee agree

 unanimously that an invoice should be paid, payment authorization is provided to the Association.

         10.       Members of the Special Litigation Committee have discussed with BAC a staffing

 and budget plan covering the Special Litigation Committee Litigation for the 90-day period

 commencing with the filing of these chapter 11 cases and concluding April 15, 2021. The Special

 Litigation Committee will continue to elicit budget and staffing plans for subsequent periods along

 with any amended budget or staffing plan necessary to reflect changed circumstances or

 unanticipated developments and will approve or request changes to them based on our judgement

 as fiduciaries.

         11.       Based on the foregoing, the Special Litigation Committee believes that the

 employment of BAC as special counsel is necessary and in the best interest of the Debtors and

 their estates.

         12.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief.




 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 5 of 6
Case 21-30085-hdh11 Doc 84-3 Filed 01/29/21               Entered 01/29/21 21:18:02          Page 7 of 7




 Declaration of Carolyn Meadows in Support of Debtors’ Application for Entry of an Order Authorizing and
 Approving the Employment of Brewer, Attorneys & Counselors as Special Counsel for the Debtors, Effective
 as of the Petition Date                                                                       Page 6 of 6
